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                              Clerk's Courtroom Motions/Miscellaneous Minute Sheet



UNITED STATES OF AMERICA

v.
                                                                                          Case No: 13-40057-01-JAR
JONATHAN KEARN


                                               Location: Topeka, Kansas

                                                                                                  AUSA: Chris Kenney
                                                                                                  Deft. Atty.:Matt Works

 JUDGE:                        Robinson                       DATE:                          12/20/2013

 DEPUTY CLERK:                 Wiest                          TAPE/REPORTER:                 Harris

 INTERPRETER:                                                 PRETRIAL/PROBATION:


                                                STATUS CONFERENCE

Case comes before the Court for a settlement conference. Defendant appears in person and by counsel, Matt Works.
Government withdraws its objection to a continuance but requests that a trial setting be firm due to Government’s witness
having to make travel arrangements from Australia.

The Court sets another status conference for January 27, 2014 at 1:30 p.m. Court orders Defendant’s counsel to file a
Motion for Continuance.
